                        UNITED STATES DISTRICT COURT
                             DISTRICT OF ALASKA



LORA H. REINBOLD,
                                                         3:23-cv-00087-MMS
                       Plaintiff,
                                                 ORDER DENYING MOTION FOR
          vs.                                      RECONSIDERATION [77]


ALASKA AIRLINES, et al.,

                       Defendants.

       This matter is before the undersigned pursuant to 28 U.S.C. § 636(c)(1) and Fed. R.

Civ. P. 73(b)(1). 1 For the reasons stated below, the Motion for Reconsideration is

DENIED WITH PREJUDICE.

       The Court assumes familiarity with the factual and procedural background of this

case. On November 26, 2024, the Court denied with prejudice Ms. Reinbold’s Motion for

Leave to File a Third Amended Complaint. Dkt. 73. The Court directed the parties to file

a joint status report, wherein the Defendants informed that they believed that there were no

matters left for the Court before posting its final judgment, and Ms. Reinbold requested

additional time to file “a substantive response to the” Court’s order. Dkt. 74. The Court

agreed with the Defendants and posted judgment in favor of the Defendants. Dkts. 75–76.




1
 See, Order re Intent to Reassign to a United States Magistrate Judge and Declination of
Consent Form, Dkt. 70 (requiring the parties to submit a declination of consent within two
weeks); Dkt. 72.


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       On December 16, 2024, Ms. Reinbold moved the Court to reconsider its November

26 order, styled as objections. Dkt. 77. Ms. Reinbold argued that the Court abused its

discretion by not granting leave to amend liberally, that amendment would not be futile

because she disagrees with the Court’s findings of law as to many of her claims, and that

the Court should have considered a less drastic measure. See generally, id. The Plaintiff

also argued for leniency given her pro se status. Id. at 5. The Court did not order the

Defendants to respond. See, L.Civ.R. 7.3(h)(3).

       In the Ninth Circuit, a motion for reconsideration is an “extraordinary remedy, to be

used sparingly and in the interests of finality and conservation of judicial resources.” 2

Under Local Civil Rule 7.3(h)(1), “[a] court will ordinarily deny a motion for

reconsideration absent a showing of [. . .] (A) manifest error of the law or fact; (B)

discovery of new material facts not previously available; or (C) intervening change in the

law.” The Rule also limits such a motion to five pages and to either seven days after an

order under subsection (A) or fourteen days after the fact discovery or change in law under

(B) or (C). See, L.Civ.R. 7.3(h)(2). Ms. Reinbold appears to only argue that the Court

made a manifest error of law. Accordingly, she only had seven days to move to reconsider,

and this motion is untimely. Even construing generously to toll the date from the entry of

judgment so as to make the motion timely, the Court substantively disagrees with Ms.

Reinbold’s objections for the same reasons detailed thoroughly in its Order Denying

Motion for Leave to Amend. Dkt. 73.


2
 United States v. Lee, No. 3:21-CR-00117-TMB, 2023 WL 6389630, at *1 (D. Alaska Oct.
2, 2023) (internal citations omitted).


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       The Court finds denial with prejudice appropriate here because Ms. Reinbold has

been given the opportunity to completely present her case and that she will not be able to

establish that she is entitled to the requested relief with further briefing. Denying with

prejudice means that Ms. Reinbold may not submit an additional motion (or objection)

challenging the dismissal of her case to the District Court and that the Court may deny any

further motion without explanation.     Denying with prejudice does not prevent Ms.

Reinbold from appealing to the Ninth Circuit Court of Appeals.

       For the reasons set forth above, IT IS SO ORDERED that the Motion for

Reconsideration at Docket 77 is DENIED WITH PREJUDICE.

       DATED this 8th day of January, 2025 at Anchorage, Alaska.



                                          MATTHEW M. SCOBLE
                                          CHIEF U.S. MAGISTRATE JUDGE




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